AO 458 (Rev. 01/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                          for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                                                                )
                             Plaintiff                          )
                                v.                              )      Case No.
                                                                )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am authorized to practice in this court, and I appear in this case as counsel for:

                                                                                                                     .


Date:
                                                                                           Attorney’s signature



                                                                                       Printed name and bar number




                                                                                                  Address



                                                                                             E-mail address



                                                                                            Telephone number



                                                                                                 FAX number
